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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §            Case No: 2:15-cv-1577-JRG-RSP
                                     §
 vs.                                 §
                                     §
 TECHNICAL CONSUMER PRODUCTS, §
 INC.                                §
                                     §
.      Defendant.                    §
 ___________________________________ §

                ORDER OF DISMISSAL OF DEFENDANT TECHNICAL
                 CONSUMER PRODUCTS, INC. WITH PREJUDICE

       On this day the Court considered Plaintiff’s Unopposed Motion to Dismiss Defendant
Technical Consumer Products, Inc. (“TCP”) With Prejudice, in the lawsuit between Plaintiff
Rothschild Connected Devices Innovations, LLC (“Rothschild”) and Defendant Technical
Consumer Products, Inc. (“TCP”). Having considered the Motion and the pleadings in this case,
the Court is of the opinion that the Motion should be, and is hereby, GRANTED.
       It is therefore ORDERED that all claims asserted by Rothschild against TCP hereby
      SIGNED
DISMISSED    thisPREJUDICE,
          WITH    3rd day of January,
                              with each2012.
                                        party to bear its own attorneys’ fees and costs.
       SIGNED this 30th day of December, 2015.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE
